          Case 2:19-cr-00397-AG Document 20 Filed 07/18/19 Page 1 of 1 Page ID #:45
   Date Approved: o~ ~ f '~ i ~ (         Extension: i      ~J +
                                                                                                            FILED SQU1 FiERN'DI~~ISiG~J
                 ~~~~ ~-~,~~   ~ ~~~                                                                       CLERK, U.S. DISTRICT C<C1UR7~
   By;
         ❑ PSA Officer (for material witness only) ~AUSA

   Signature: _~ ~ +                            ~                                                                ~~~ ~ ~ ~ol~

                                                                                                        CENTRAL D~$TRICT OF CALIFORNIA
                                               UNITED STATES DISTRICT COURT                             BY    '1/              DEPUTY
                                              CENTRAL DISTRICT pF CALIFORNIA

   iJNITED STATES OF AMERICA                                               CASE NUMBER
                                                           PLAINTIFF,



      ~                                                                      AFFIDAVIT OF SURETY(NO JUSTIFICATIOl~

                                                      DEFENDANT(S).


     I,the undersigned surety, state on oath that I permanently reside within the jurisdiction ofthe United States District Court
 for the Central District of California at the address indicated below or in (City, State):
             ~~v4olw~ ~,~
                        .1, ~a~"11 a ~

     I further state that I understand the provisions ofthe bond executed by the above-named defendant for which this affidavit
 supports, and I agree to be bound as a condition ofthis bond by the provisions ofLocal Criminal Rule 46-6 as set forth at the
 bottom ofthis document and~further acknowledge and agree that I and my personal representatives are bound as a condition
 of this bond,jointly and severally with the defendant and other sureties, to pay to the United States of America the sum of
 $~,cO D(7 °`                  in the event that the bond is forfeited.

    I further understand that it is my obligation to inform the Court and counsel of any change in residence address or
 employment ofthe defendant immediately upon becoming aware of such fact.

     I further agree and understand that, unless otherwise ordered by the Court, the bond for which this affidavit supports is
 a continuing bond(including any proceeding on appeal or review)which shall continue in full force and effect until such time
 as the undersigned is duly exonerated by Order ofthe Court.

     I decl~re under the penalty of perjury that the foregoing is true and correct. Executed on this                      ~    ~-       day of
       ,~v e~                     ,20 t

                        /~                i                                      XXX-XX-          ~
     Name of Surety                                                          Social Security Number of Surety (Last 4 digits only)


    Sig        e of Surety                                                   Address of Surety


    Relationship of Surety                                                   City, S#ate, Zip Code


Local Criminal Rule 46-6                                                                    ,
    Bond -Summary Adjudication ofObligation
A bond or undertaking presentedforfling shall contain consent ofthe principal and surety that, in case ofdefault or contumacy on the part ofthe
principal or surety, the Court, upon ten (10)days notice, may render ajudgment summarily in accordance with the obligation undertaken and issue a
writ ofexecution upon such judgment. An indemni[ee orparry in interest seeking'ajudgment on a bond or undertaking shall proceed by Motionfor
Summary Adjudication ofObligation and Execution. Service may be made on a corporate surety as provided in 31 U.S.C. ,¢ 9306.




CR-04(02/09)                                    AFFIDAVIT OF SURETY(NO JUSTIFICATIOl~
